      Case 4:24-cv-00183-CDL     Document 6   Filed 12/18/24     Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

CHANDRIKA PHEA,                           *

      Plaintiff,                          *

vs.                                       *
                                               CASE NO. 4:24-CV-183 (CDL)
WELLS FARGO HOME MORTGAGE, et al., *

      Defendants.                         *


                                  O R D E R

      Plaintiff, who is pro se, alleges that Defendants wrongfully

foreclosed on her home.          The purchaser of the property filed a

dispossessory action, and a Muscogee County judicial officer held

a hearing on November 19, 2024 and issued a writ of possession to

the   purchaser.        Compl.     Attach.    2,   Case        Information     for

MC2024CV006526, ECF No. 1-2. Plaintiff brought this action against

Defendants under several federal statutes, including the Fair Debt

Collection Practices Act, the Truth in Lending Act, and the Fair

Credit Reporting Act.          Presently pending before the Court is

Plaintiff’s motion for an ex parte temporary restraining order:

Plaintiff wants this Court to “halt” the State court dispossessory

proceeding.   Mot. for TRO 2, ECF No. 3.

      Under the Anti-Injunction Act, a federal court “may not grant

an injunction to stay proceedings in a State court except as

expressly authorized by Act of Congress, or where necessary in aid
        Case 4:24-cv-00183-CDL   Document 6   Filed 12/18/24   Page 2 of 2



of its jurisdiction, or to protect or effectuate its judgments.”

28 U.S.C. § 2283.      None of the three exceptions applies here.            See

Mercer v. Sechan Realty, Inc., 569 F. App'x 652, 655 (11th Cir.

2014) (per curiam) (explaining that the first exception only

applies if the plaintiff seeks relief under a federal statute that

creates a “specific and uniquely federal right or remedy” that can

be “given its intended scope only by the stay of a state court

proceeding,” that the second exception only applies if the action

was removed from state court or the federal court had in rem

jurisdiction over the subject property before the state court did,

and that the third exception only applies if the federal court has

already issued a judgment).          Accordingly, based on the present

record, the Court may not issue an ex parte temporary restraining

order     to   halt   the    State   court    dispossessory       proceeding.

Plaintiff’s motion (ECF No. 3) is denied.

     IT IS SO ORDERED, this 18th day of December, 2024.

                                          s/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA




                                      2
